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     STARTUP FUND MANAGEMENT, L.L.C.
14
                                  UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                     SAN FRANCISCO DIVISION
17

18   IN RE OPENAI CHATGPT LITIGATION                Master File Case No. 3:23-CV-03223-AMO

19   This document relates to:                      JOINT STIPULATION AND
                                                    [PROPOSED] ORDER TO EXTEND
20                                                  CASE DEADLINES PURSUANT TO
     Case No. 3:23-cv-03223-AMO                     LOCAL RULE 6-2
21   Case No. 3:23-cv-03416-AMO
     Case No. 3:23-cv-04625-AMO                     Judge:     Hon. Araceli Martínez-Olguín
22
                                                    Date Filed: June 28, 2023
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                JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND CASE DEADLINES
                                 Master File Case No. 3:23-CV-03223-AMO
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 1                       JOINT STIPULATION TO EXTEND CASE DEADLINES

 2             Pursuant to Local Civil Rules 6-2 and 7-12, and Fed. R. Civ. P. 16(b)(4), the parties in the

 3   above-captioned action hereby stipulate and agree as follows:

 4             WHEREAS, at the initial case management conference in this case on October 5, 2023,

 5   the Court accepted Plaintiffs’ proposed case management schedule through the deadlines for

 6   replies to any motion for class certification and any Daubert motions (Dkt. 75 at 13:15–14:8,

 7   16:20–22);

 8             WHEREAS, under the current schedule, the close of fact discovery is set for October 29,

 9   2024, and the other current case deadlines for expert discovery and for briefing on any motions

10   for class certification and Daubert motions are set thereafter (Dkt. 51);

11             WHEREAS, no trial date has been entered (see Dkt. 51);

12             WHEREAS, the parties have begun fact discovery, but additional work remains to be

13   done: for example, document discovery is ongoing and not complete; the parties are still

14   negotiating the identities of custodians from whom they should collect, review and produce

15   documents; the parties have not yet agreed upon a deposition protocol; and no party or third-party

16   fact depositions have occurred;

17             WHEREAS, the parties recently briefed and Magistrate Judge Illman resolved a dispute

18   regarding the number of custodians from whom the parties shall collect, review and produce

19   documents, finding that the parties shall collect documents from 24 custodians (Dkt. 166);

20             WHEREAS, Defendants have requested that the parties extend current case deadlines by

21   90 days, and Plaintiffs have no objection;

22             WHEREAS, the parties agree and stipulate that there is good cause to extend the current

23   case deadlines by 90 days in order to complete fact discovery;

24             WHEREAS, along with this Stipulation and Proposed Order, counsel for Defendants will

25   file a declaration in compliance with Local Civil Rule 6-2;

26             WHEREAS, the parties to the action entitled Authors Guild, et al. v. OpenAI, Inc., et al.,

27   Case No. 1:23-cv-08292-SHS have also agreed to a 90-day extension of deadlines and are

28   contemporaneously filing a letter with Magistrate Judge Wang in the Southern District of New

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 1   York for such extensions in those actions.

 2             NOW THEREFORE, the parties agree and stipulate and respectfully request that the

 3   current case deadlines should be extended by 90 days as reflected in the following table:

 4

 5                          Case Event                          Previous Deadline        New Deadline
 6                                                Fact Discovery
 7         Substantial completion of document
                                                                                       September 12, 2024
 8         productions
 9         Close of fact discovery                               October 29, 2024       January 27, 2025
10                                                 Expert Reports
11         Expert reports on issues on which a party has
                                                                 January 13, 2025        April 14, 2025
12         the burden of proof
13
           Opposing / rebuttal expert reports                   February 11, 2025        May 12, 2025
14
           Close of expert discovery                             March 13, 2025          June 11, 2025
15
                                                 Daubert Motions
16
           Daubert motions                                        April 10, 2025          July 9, 2025
17
           Oppositions to Daubert motions                         May 23, 2025          August 21, 2025
18
           Replies in support of Daubert motions                  June 24, 2025        September 22, 2025
19
                                            Class Certification Motions
20
           Motion for class certification                         April 10, 2025          July 9, 2025
21
           Opposition to class certification motion               May 23, 2025          August 21, 2025
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           Reply in support of class certification motion         June 24, 2025        September 22, 2025
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                   JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND CASE DEADLINES
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 1   Dated: August 16, 2024                                     KEKER, VAN NEST & PETERS LLP

 2
                                                        By:     /s/ R. James Slaughter
 3
                                                                ROBERT A. VAN NEST
 4                                                              R. JAMES SLAUGHTER
                                                                PAVEN MALHOTRA
 5                                                              MICHELLE YBARRA
                                                                NICHOLAS S. GOLDBERG
 6                                                              THOMAS E. GORMAN
                                                                KATIE LYNN JOYCE
 7                                                              CHRISTOPHER S. SUN

 8                                                              Attorneys for Defendants

 9
     Dated: August 16, 2024                                     JOSEPH SAVERI LAW FIRM, LLP
10

11                                                      By:     /s/ Joseph R. Saveri
                                                                JOSEPH R. SAVERI
12
                                                                Counsel for Individual and Representative
13                                                              Plaintiffs and the Proposed Class
14

15                                      SIGNATURE ATTESTATION

16             Pursuant to Local Rule 5–1(i)(3), I attest under penalty of perjury that concurrence in the

17   filing of this document has been obtained from the other signatories to this stipulation.

18
     Dated: August 16, 2024                             By:     /s/ R. James Slaughter
19
                                                                ROBERT A. VAN NEST
20                                                              R. JAMES SLAUGHTER
                                                                PAVEN MALHOTRA
21                                                              MICHELLE YBARRA
                                                                NICHOLAS S. GOLDBERG
22                                                              THOMAS E. GORMAN
                                                                KATIE LYNN JOYCE
23                                                              CHRISTOPHER S. SUN

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 1                    [PROPOSED] ORDER EXTENDING CASE DEADLINES

 2             PURSUANT TO STIPULATION AND FINDING GOOD CAUSE, IT IS SO

 3   ORDERED.

 4

 5
     Dated: ________________                    By:
 6
                                                       THE HONORABLE ARACELI
 7                                                     MARTÍNEZ-OLGUÍN
                                                       UNITED STATES DISTRICT JUDGE
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                 JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND CASE DEADLINES
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